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                          UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES

 Date: 2/14/2023                 Time: 9:00 – 9:43; 10:24 –  Judge: YVONNE
                                 11:08                       GONZALEZ ROGERS
 Case No.: 20-cv-03664-YGR       Case Name: Brown v. Google LLC



Attorney for Plaintiff: John Yanchunis, David Boies, Amanda Bonn, Samuel Issacharoff, Mark
Mao, Ryan McGee, Beko Osiris Ra Reblitz-Richardson, Madison Bower
Attorney for Defendant: Stephen Broome, Andrew Shapiro, Viola Trebicka

 Deputy Clerk: Aris Garcia                        Court Reporter: Raynee Mercado


                                     PROCEEDINGS

Further Case Management Conference - HELD

Plaintiff’s Motion for Summary Judgment due by 3/1/2023

Defendants’ Cross Motion Combined with Opposition to Plaintiff’s Motion with allowance
for additional 10 pages due by 3/21/2023

Plaintiff’s Combined Reply in support of Motion and Opposition to Cross Motion with
allowance for additional 10 pages due by 4/12/2023

Defendant’s reply in support of Cross-Motion due by 4/26/2023

Hearing on Motions for Summary Judgment special set for 5/15/2023 at 1:00 p.m.

Case Management Conference set 7/24/2023 at 1:00pm

Motions in Limine served by 9/4/2023

Oppositions to Motions in Limine served by 9/14/2023

Compliance Deadline set Friday 9/22/2023 at 9:01am

Pretrial Filings due 9/28/2023

Pretrial Binders with ECF headers due by 9/29/2023
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Pretrial Conference Friday, 10/13/2023 at 9:00am

Jury Trial set 11/6/2023 at 8:00am

Parties shall meet and confer regarding hiring retired Judge to handle trial evidentiary
issues.

Compliance Deadline re hired retired Judge and advisal to the Court regarding trial
related deadlines regarding exchanges set for 6/30/2023 at 9:01 a.m.

[472] STIPULATION WITH PROPOSED ORDER Regarding Authenticity of Documents
is Terminated by the Court.

Plaintiffs’ supplemental brief on an issue class under Fed. R. Civ. P. 23(c)(4) due by
2/28/2023.

Plaintiffs’ supplemental brief on whether they will seek injunctive relief for UCL claims
also due by 2/28/2023.
